      Case 4:22-cr-40007-JPG Document 7 Filed 04/08/22 Page 1 of 1 Page ID #10
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,              )      MINUTES OF INITIAL APPEARANCE,
                                       )      ARRAIGNMENT, & DETENTION HEARING
                                       )
       vs.                             )      Case No. 22-CR-40007-JPG
                                       )
MICHAEL E. PIERCE,                     )      Date: April 8, 2022
                                       )
              Defendant.               )      Location: Benton


PRESENT: HONORABLE REONA J. DALY, MAGISTRATE JUDGE

DEPUTY CLERK: Jamie Melson                    REPORTER: Chris LaBuwi

COUNSEL FOR GOVERNMENT: Casey Bloodworth, AUSA

COUNSEL FOR DEFENDANT: Melissa Day, AFPD

[x]    Defendant present in open court in custody.

[x]    Counsel for the government and defendant are present as noted above.

[x]    Financial Affidavit filed; counsel requested. Request [x] Granted. [] Denied.
         [x] Federal Public Defender appointed. [] Panel attorney to be appointed.

[x]    Defendant waives reading of Indictment.

[x]    Defendant arraigned on [x] Indictment [ ] Information.

[x]    Plea: [x] Not Guilty as to Count 1 entered by the Court on defendant’s behalf.

[x]    Motion to Detain filed by the Government (Doc. 6). Parties have received and
       reviewed the pretrial services report. Proffer of evidence through counsel.
       Arguments heard. The Government’s Motion is DENIED.

[x]    Final Pretrial Conference set for MAY 26, 2022 AT 9:30 A.M. before Judge
       J. Phil Gilbert in Benton. The defendant’s presence is required.

[x]    Jury Trial set for JUNE 13, 2022 AT 9:00 A.M. before Judge J. Phil Gilbert in
       Benton.

[x]    Personal Recognizance Bond to enter.


*No further notice will be given.
